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NY Stance Taxi Corp                                                                        Case No. 17-46642
Debtor                                                                            Reporting Period: 5/1/2019-5/31/2019
                                                                                  AMENDED REPOR
                             SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
attached for each account. [See MOR-1 (CON’T)]

                                                                                                        BANK ACCOUNTS
                                                                                       PAYROLL                    TAX                  OTHER           CURRENT MONTH
                                                                                                                                                      ACTUAL (TOTAL OF
                                                           OPERATING
                                                                                                                                                        ALL ACCOUNTS)
ACCOUNT NUMBER (LAST 4)                                       2279

CASH BEGINNING OF MONTH                              $            2,215.00                                                                            $      2,215.00
RECEIPTS
CASH SALES                                           $                    -                                                                           $             -
ACCOUNTS RECEIVABLE -
PREPETITION                                          $                    -                                                                           $             -
ACCOUNTS RECEIVABLE -
POSTPETITION                                          $            2,700.00                                                                           $      2,700.00
LOANS AND ADVANCES                                                        0                                                                                          0
SALE OF ASSETS                                                            0                                                                                          0
OTHER (ATTACH LIST)                                                       0                                                                                          0
TRANSFERS (FROM DIP ACCTS)                           $                  -                                                                             $            -
  TOTAL RECEIPTS                                     $                  -                                                                             $            -
DISBURSEMENTS
NET PAYROLL                                                                   0                                                                                         0
PAYROLL TAXES                                                                 0                                                                                         0
SALES, USE, & OTHER TAXES                            $                    -                                                                           $             -
INVENTORY PURCHASES                                                       0                                                                                          0
SECURED/ RENTAL/ LEASES                              $               90.00                                                                            $         90.00
INSURANCE                                            $                  -                                                                             $            -
ADMINISTRATIVE                                       $              175.00                                                                            $        175.00
SELLING                                              $                  -                                                                             $            -
OTHER (ATTACH LIST)                                  $              960.00                                                                            $        960.00
OWNER DRAW *                                         $                  -                                                                             $            -
TRANSFERS (TO DIP ACCTS)                             $                  -                                                                             $            -
PROFESSIONAL FEES                                    $                  -                                                                             $            -
U.S. TRUSTEE QUARTERLY FEES                          $                  -                                                                             $            -
COURT COSTS                                          $                  -                                                                             $            -
TOTAL DISBURSEMENTS                                  $            1,225.00                                                                            $      1,225.00

NET CASH FLOW
(RECEIPTS LESS DISBURSEMENTS) $                                 (1,225.00)                                                                            $     (1,225.00)

CASH – END OF MONTH                                  $              990.00                                                                            $        990.00
* COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                     THE FOLLOWI NG SECTI ON MUST BE COMPLETED
DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

TOTAL DISBURSEMENTS
  LESS: TRANSFERS TO OTHER DEBTOR IN
POSSESSION ACCOUNTS
  PLUS: ESTATE DISBURSEMENTS MADE BY
OUTSIDE SOURCES (i.e. from escrow accounts)                                        $                                       -
TOTAL DISBURSEMENTS FOR CALCULATING U.S.
TRUSTEE QUARTERLY FEES                                                            $                               1,225.00


                                                                                                                                                            FORM MOR-1
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In re NY Stance Taxi Corp                                                    Case No. 17-46642
      Debtor                                                        Reporting Period: 5/1/2019-5/31/2019
                                                                                      AMENDED REPORT
                                                      BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                               Operating                     Payroll                     Tax                        Other
                                                  #2279             # - NA                     # - NA                    # - NA
     BALANCE PER
     BOOKS

     BANK BALANCE                       $                 990.00
     (+) DEPOSITS IN                    $                     -
     TRANSIT (ATTACH
     LIST)
     (-) OUTSTANDING
     CHECKS (ATTACH
     LIST) :                            $                      -
     OTHER (ATTACH
     EXPLANATION)

     ADJUSTED BANK
     BALANCE *                           $                990.00
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                           Date                      Amount                      Date                      Amount
     None




     CHECKS OUTSTANDING                           Ck. #                      Amount                      Ck. #                     Amount
     None




     OTHER




                                                                                                                                            FORM MOR-1 (CONT.)
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In re NY Stance Taxi Corp                                                                          Case No. 17-46642
      Debtor                                                                              Reporting Period: 5/1/2019-5/31/2019
                                                                                          AMENDED REPORT

                                     STATEMENT OF OPERATIONS (Income Statement)
     The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
     when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                         REVENUES                                                 MONTH                 CUMULATIVE -FILING
                                                                                                                            TO DATE
     Gross Revenues                                                                       $                     -       $        33,800.00
     Less: Returns and Allowances                                                                                   0                     0
     Net Revenue                                                                          $                     -       $        33,800.00
     COST OF GOODS SOLD
     Beginning Inventory                                                                            NA
     Add: Purchases                                                                                 NA
     Add: Cost of Labor                                                                             NA
     Add: Other Costs (attach schedule)                                                             NA
     Less: Ending Inventory                                                                         NA
     Cost of Goods Sold                                                                             NA
     Gross Profit                                                                                   NA
     OPERATING EXPENSES
     Advertising                                                                                    NA
     Auto and Truck Expense                                                                         NA
     Bad Debts                                                                                      NA
     Contributions                                                                                  NA
     Employee Benefits Programs                                                                     NA
     Officer/Insider Compensation*                                                                  NA
     Insurance                                                                                      NA
     Management Fees/Bonuses                                                                        NA
     Office Expense                                                                        $               175.00 $               2,100.00
     Pension & Profit-Sharing Plans                                                                  NA
     Repairs and Maintenance                                                                         NA
     Rent and Lease Expense                                                                $                 90.00 $              1,080.00
     Salaries/Commissions/Fees                                                             $                     - $              1,600.00
     Supplies                                                                                       NA
     Taxes - Payroll                                                                                NA
     Taxes - Real Estate                                                                            NA
     Taxes - Other                                                                         $                        - $              50.00
     Travel and Entertainment                                                                       NA
     Utilities                                                                                      NA
     Other (attach schedule)                                                                        NA
     Total Operating Expenses Before Depreciation                                          $               265.00 $               4,830.00
     Depreciation/Depletion/Amortization                                                            NA
     Net Profit (Loss) Before Other Income & Expenses                                     $               (265.00) $             28,970.00
     OTHER INCOME AND EXPENSES
     Other Income (attach schedule)                                                                             0                         0
     Interest Expense                                                                                           0                         0
     Other Expense (attach schedule)                                                      $               960.00 $               30,746.57
     Net Profit (Loss) Before Reorganization Items                                        $            (1,225.00) $              (1,776.57)




                                                                                                                                             FORM MOR-2
                                                                                                                                                   2/2008
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In re NY Stance Taxi Corp                                                               Case No. 17-46642
      Debtor                                                                   Reporting Period: 5/1/2019-5/31/2019
                                                                               AMENDED REPORT
     REORGANIZATION ITEMS
     Professional Fees                                                          $                 -       $            175.00
     U. S. Trustee Quarterly Fees                                               $                 -       $          1,950.00
     Interest Earned on Accumulated Cash from Chapter 11 (see continuation
     sheet)                                                                                           0                     0
     Gain (Loss) from Sale of Equipment                                                               0                      0
     Other Reorganization Expenses (attach schedule)                            $                 -       $            208.44
     Total Reorganization Expenses                                              $                 -       $          2,333.44
     Income Taxes                                                                                  0                         0
     Net Profit (Loss)                                                          $         (1,225.00) $              (4,110.01)
     *"Insider" is defined in 11 U.S.C. Section 101(31).


     BREAKDOWN OF “OTHER” CATEGORY

     OTHER COSTS
     NONE




     OTHER OPERATIONAL EXPENSES
     NONE




     OTHER INCOME
     NONE



     OTHER EXPENSES
     Payment to Secured Creditor                                                $            960.00 $               30,746.57



     OTHER REORGANIZATION EXPENSES
     Checks - New DIP Account                                                   $                 -       $           208.44
     Professional Fees - Mediator Fee                                           $                 -       $           175.00




     Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
     Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
     bankruptcy proceeding, should be reported as a reorganization item.




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In re NY Stance Taxi Corp                                                                  Case No.                           17-46642
      Debtor                                                                      Reporting Period:                  5/1/2019-5/31/2019
                                                                                AMENDED REPORT
                                                                              BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                     BOOK VALUE AT END OF            BOOK VALUE AT END OF BOOK VALUE ON PETITION
                                                                                  CURRENT REPORTING                PRIOR REPORTING      DATE OR SCHEDULED
                                                                                        MONTH                           MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents                                           $                   990.00      $                2,215.00       $               5,100.01
     Restricted Cash and Cash Equivalents (see continuation                                                                                                              0
     sheet)                                                                                              0
     Accounts Receivable (Net)                                                  $                2,700.00 $                      2,700.00       $               2,500.00
     Notes Receivable                                                           $              925,045.00 $                    925,045.00       $             925,045.00
     Inventories                                                                NA                                                              NA
     Prepaid Expenses                                                           NA                                                              NA
     Professional Retainers                                                                              0                                                               0
     Other Current Assets (attach schedule)                                      $             750,000.00 $                    750,000.00        $             750,000.00
     TOTAL CURRENT ASSETS                                                        $           1,678,735.00 $                  1,679,960.00        $           1,682,645.01
     PROPERTY & EQUIPMENT
     Real Property and Improvements                                                                          0                                                            0
     Machinery and Equipment                                                                                 0                                                            0
     Furniture, Fixtures and Office Equipment                                                                0                                                            0
     Leasehold Improvements                                                                                  0                                                            0
     Vehicles                                                                                                0                                                            0
     Less: Accumulated Depreciation                                                                          0                                                            0
     TOTAL PROPERTY & EQUIPMENT                                                                              0                                                            0
     OTHER ASSETS
     Amounts due from Insiders*                                                                              0                                                            0
     Other Assets (attach schedule)                                                                                                              $                    -
     TOTAL OTHER ASSETS                                                                                  0                                                               0
     TOTAL ASSETS                                                                $           1,678,735.00 $                  1,679,960.00        $           1,682,645.01
                     LIABILITIES AND OWNER EQUITY                                BOOK VALUE AT END OF            BOOK VALUE AT END OF BOOK VALUE ON PETITION
                                                                                  CURRENT REPORTING                PRIOR REPORTING            DATE
                                                                                        MONTH                           MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable                                                                                        0                                                            0
     Taxes Payable (refer to FORM MOR-4)                                                                     0                                                            0
     Wages Payable                                                                                           0                                                            0
     Notes Payable                                                                                           0                                                            0
     Rent / Leases - Building/Equipment                                                                      0                                                            0
     Secured Debt / Adequate Protection Payments                                                             0                                                            0
     Professional Fees                                                                                       0                                                            0
     Amounts Due to Insiders*                                                                                0                                                            0
     Other Post-petition Liabilities (attach schedule)                                                       0                                                            0
     TOTAL POST-PETITION LIABILITIES                                                                         0                                                            0
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                $           1,210,000.00        $           1,210,000.00        $           1,210,000.00
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES                                              $           1,210,000.00        $           1,210,000.00        $           1,210,000.00
     TOTAL LIABILITIES                                                           $           1,210,000.00        $           1,210,000.00        $           1,210,000.00
     OWNERS' EQUITY
     Capital Stock
     Additional Paid-In Capital
     Partners' Capital Account
     Owner's Equity Account
     Retained Earnings - Pre-Petition
     Retained Earnings - Post-petition
     Adjustments to Owner Equity (attach schedule)
     Post-petition Contributions (attach schedule)
     NET OWNERS’ EQUITY
     TOTAL LIABILITIES AND OWNERS' EQUITY                                        $           1,678,735.00        $          1,679,960.00         $           1,682,645.01
     * "Insider" is defined in 11 U.S.C. Section 101(31).


                                                                                                                                                                              FORM MOR-3
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In re NY Stance Taxi Corp                                                   Case No.                    17-46642
      Debtor                                                       Reporting Period:           5/1/2019-5/31/2019
                                                                 AMENDED REPORT

     BALANCE SHEET - continuation section
                                ASSETS                               BOOK VALUE AT END     BOOK VALUE AT END            BOOK VALUE ON
                                                                        OF CURRENT         OF PRIOR REPORTING           PETITION DATE
                                                                     REPORTING MONTH             MONTH
     Other Current Assets
     NYC Medallions - 5P15 & 5P16                                $              750,000.00 $             750,000.00 $           750,000.00




     Other Assets
     NA




                  LIABILITIES AND OWNER EQUITY                       BOOK VALUE AT END     BOOK VALUE AT END            BOOK VALUE ON
                                                                        OF CURRENT         OF PRIOR REPORTING           PETITION DATE
                                                                     REPORTING MONTH             MONTH
     Other Post-petition Liabilities
     NA




     Adjustments to Owner’s Equity
     NA



     Post-Petition Contributions
     NA




     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                             FORM MOR-3
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In re NY Stance Taxi Corp                                                Case No. 17-46642
      Debtor                                                    Reporting Period: 5/1/2019-5/31/2019
                                                                       AMENDED REPORT
                                             STATUS OF POST-PETITION TAXES

     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
     amount should be zero.
     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
     Attach photocopies of any tax returns filed during the reporting period.

                                                              Amount
                                                              Withheld
                                            Beginning          and/or          Amount                          Check # or
     Federal                                  Tax             Accrued           Paid           Date Paid         EFT      Ending Tax
     Withholding                           NA
     FICA-Employee                         NA
     FICA-Employer                         NA
     Unemployment                          NA
     Income                                NA
     Other:_____________                   NA
       Total Federal Taxes                 NA
     State and Local
     Withholding                           NA
     Sales                                 NA
     Excise                                NA
     Unemployment                          NA
     Real Property                         NA
     Personal Property                     NA
     Other:_____________                   NA
      Total State and Local                NA


     Total Taxes                           NA


                                    SUMMARY OF UNPAID POST-PETITION DEBTS

     Attach aged listing of accounts payable.
                                                                              Number of Days Past Due
                                                Current          0-30            31-60            61-90           Over 91    Total
     Accounts Payable                                     0
     Wages Payable                                        0
     Taxes Payable                                        0
     Rent/Leases-Building                                 0
     Rent/Leases-Equipment                                0
     Secured Debt/Adequate
     Protection Payments                                  0
     Professional Fees                                    0
     Amounts Due to Insiders                              0
     Other:______________                                 0
     Other:______________                                 0
     Total Post-petition Debts                            0

     Explain how and when the Debtor intends to pay any past due post-petition debts.



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In re NY Stance Taxi Corp                                                                     Case No. 17-46642
      Debtor                                                                         Reporting Period: 5/1/2019-5/31/2019
                                                                                     AMENDED REPORT

                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                                Amount
     Total Accounts Receivable at the beginning of the reporting period              $       2,700.00
     Plus: Amounts billed during the period                                          $            -
     Less: Amounts collected during the period                                       $            -
     Total Accounts Receivable at the end of the reporting period                    $       2,700.00


     Accounts Receivable Aging                                    0-30 Days              31-60 Days       61-90 Days        91+ Days           Total
     0 - 30 days old                                                                                                                       $          -
     31 - 60 days old                                         $            500.00                                                          $       500.00
     61 - 90 days old                                                                                                                      $          -
     91+ days old                                             $           2,200.00                                                         $     2,200.00
     Total Accounts Receivable                                $           2,700.00                                                         $     2,700.00

     Less: Bad Debts (Amount considered uncollectible)                           0                                                                        0

     Net Accounts Receivable                                  $           2,700.00                                                         $     2,700.00


                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                0-30 Days              31-60 Days       61-90 Days        91+ Days           Total
     0 - 30 days old                                                             0                    0                0
     31 - 60 days old                                                            0                    0                0               0                  0
     61 - 90 days old                                                            0                    0                0               0                  0
     91+ days old                                                                0                    0                0               0                  0
     Total Taxes Payable                                                         0                    0                0               0                  0
     Total Accounts Payable                                                      0                    0                0               0                  0



                                                                                                                                                  FORM MOR-5
                                                                                                                                                        2/2008
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In re NY Stance Taxi Corp                                                  Case No. 17-46642
      Debtor                                                      Reporting Period: 5/1/2019-5/31/2019
                                                                                    AMENDED REPORT

                                            PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
     Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                     INSIDERS

                  NAME                  TYPE OF PAYMENT               AMOUNT PAID           TOTAL PAID TO DATE
     NONE                                                     0                         0                          0




                           TOTAL PAYMENTS TO INSIDERS




                                                                          PROFESSIONALS
                                          DATE OF COURT
                                             ORDER
                                           AUTHORIZING                                                                                             TOTAL INCURRED &
                  NAME                      PAYMENT               AMOUNT APPROVED               AMOUNT PAID            TOTAL PAID TO DATE              UNPAID*
     Fred Roth CPA                            6/8/2018            $             800.00      $             800.00       $            800.00         $            -
     Fred Roth CPA                           2/11/2019            $             800.00      $             800.00       $            800.00




                  TOTAL PAYMENTS TO PROFESSIONALS                 $          1,600.00       $          1,600.00        $          1,600.00         $            -
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



          POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                   AND ADEQUATE PROTECTION PAYMENTS

                                          SCHEDULED
                                       MONTHLY PAYMENT                 AMOUNT PAID          TOTAL UNPAID POST-
         NAME OF CREDITOR                    DUE                      DURING MONTH              PETITION
     None




                                          TOTAL PAYMENTS




                                                                                                                                                            FORM MOR-6
                                                                                                                                                                  2/2008
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In re NY Stance Taxi Corp                                                                Case No. 17-46642
      Debtor                                                                    Reporting Period: 5/1/2019-5/31/2019
                                                                                AMENDED REPORT

                                          DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                       Yes                 No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of
   1   business this reporting period?                                                                     X
       Have any funds been disbursed from any account other than a debtor in
   2   possession account this reporting period?                                                           X
       Is the Debtor delinquent in the timely filing of any post-petition tax
   3   returns?                                                                                            X
       Are workers compensation, general liability or other necessary
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?                                              X

   5 Is the Debtor delinquent in paying any insurance premium payment?                                     X
     Have any payments been made on pre-petition liabilities this reporting
   6 period?                                                                                               X
     Are any post petition receivables (accounts, notes or loans) due from
   7 related parties?                                                                                      X
   8 Are any post petition payroll taxes past due?                                                         X
   9 Are any post petition State or Federal income taxes past due?                                         X
  10 Are any post petition real estate taxes past due?                                                     X
  11 Are any other post petition taxes past due?                                                           X
  12 Have any pre-petition taxes been paid during this reporting period?                                   X
  13 Are any amounts owed to post petition creditors delinquent?                                           X
  14 Are any wage payments past due?                                                                       X
     Have any post petition loans been been received by the Debtor from any
  15 party?                                                                                                X
  16 Is the Debtor delinquent in paying any U.S. Trustee fees?                                             X
     Is the Debtor delinquent with any court ordered payments to attorneys
  17 or other professionals?                                                                               X
     Have the owners or shareholders received any compensation outside of
  18 the normal course of business?                                                                        X




                                                                                                                 FORM MOR-7
                                                                                                                       2/2008
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